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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :
                  -v-                                                  :     20-CR-499 (LTS)
                                                                       :
KEITH HALLIBURTON and JEREMIAH YOUNG,                                  :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

                                                     ORDER

                 A telephonic initial pretrial conference is scheduled to take place in the above

captioned case on November 13, 2020, at 10:30 a.m. As requested, each defense counsel will

be given an opportunity to speak to his client by telephone for fifteen minutes before the

proceeding begins (i.e., at 10:15 a.m.); defense counsel should make sure to answer the

telephone number that was previously provided to Chambers at that time.

                 To access the call, the participants must dial 888-363-4734, enter the access code

1527005#, and the security code 3891#. (Members of the press and public may call the same

number, but will not be permitted to speak during the conference.) During the call, participants

are directed to observe the following rules:

             1. Use a landline whenever possible.

             2. Use a handset rather than a speakerphone.

             3. All callers to the line must identify themselves if asked to do so.

             4. Identify yourself each time you speak.

             5. Mute when you are not speaking to eliminate background noise.

             6. Spell proper names.


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               Persons granted remote access to proceedings are reminded of the general

prohibition against photographing, recording, and rebroadcasting of court proceedings.

Violation of these prohibitions may result in sanctions, including removal of court issued media

credentials, restricted entry to future hearings, denial of entry to future hearings, or any other

sanctions deemed necessary by the court.

       SO ORDERED.

Dated: New York, New York
       November 5, 2020
                                                               /s/ Laura Taylor Swain
                                                               LAURA TAYLOR SWAIN
                                                               United States District Judge




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